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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

   UNITED STATES OF AMERICA,                         Case No. 23-80101-CR
                                                     CANNON/REINHART
   vs.

   DONALD J. TRUMP,
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,

               Defendants.
   _____________________________________

                 PRESIDENT DONALD J. TRUMP’S NOTICE REGARDING
                        FILING OF CERTAIN REPLY BRIEFS

         President Donald J. Trump respectfully submits this notice pursuant to the Court’s February

  20, 2024 Order, ECF No. 320, after conferring with the Special Counsel’s Office, in order to

  provide public notice that President Trump is submitting three unredacted reply briefs to the Court

  and counsel of record via email this evening. The three reply briefs relate to the following pretrial

  motions, which have not yet been docketed:

         1. Motion to dismiss the Superseding Indictment based on selective and vindictive
            prosecution;

         2. Motion to dismiss the Superseding Indictment, and in the alternative to suppress the
            “15 Boxes,” based on prosecutorial misconduct resulting in due process violations,
            impermissible pre-indictment delay, and grand jury abuses; and

         3. Motion to (a) suppress evidence seized during the raid at Mar-a-Lago and obtained in
            violation of President Trump’s attorney-client privilege, and (b) dismiss the
            Superseding Indictment based on prejudice from this privilege violation.

  See ECF No. 328 at 1-2. Separately, President Trump filed publicly via ECF two reply briefs in

  further support of two publicly filed pretrial motions. See ECF No. 324, 326, 414, 415.




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   Dated: March 24, 2024                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I, Christopher M. Kise, certify that on March 24, 2024, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF.

                                                   /s/ Christopher M. Kise
                                                   Christopher M. Kise
